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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                          Plaintiff,              )
                                                  )
         v.                                       )            Case No. 1:07-cr-90-WTL-DKL-2
                                                  )
 ANGEL S. TURNER,                                 )
                                                  )
                          Defendant.              )

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         Having reviewed Magistrate Judge Tim A. Baker’s Report and Recommendation regarding

 the petition for violation of Angel S. Turner’s supervised release, pursuant to Title 18 U.S.C.

 §3401(i), Rule 32.1 (a)( 1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the

 Court now approves and adopts the Report and Recommendation as orders that no further action

 be taken at this time.



12/04/2013




                                                                 _______________________________
                                                                  Hon. William T. Lawrence, Judge
                                                                  United States District Court
                                                                  Southern District of Indiana




Distribution to all registered counsel by electronic notification via CM/ECF
